Case: 2:19-cv-01049-SDM-KAJ Doc #: 3 Filed: 03/21/19 Page: 1 of 2 PAGEID #: 54

JS 44 (Rev. 02/19)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court For the
purpose of initiating the civil docket sheel, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I, (a) PLAINTIFFS
JAMES J, ENGLAND

C/O ROUTTE LAW, 142 GRANVILLE ST. COLUMBUS OH 43230

{b) County of Residence of First Listed Plaintiff FRANKLIN
(EXCEPT IN U.S. PLAINTIFF CASES)

c) All Fi ,_ Address, and Teleph Niuanb
Rett Lg PE TAS es se is Be ee tee OH 43230

614-475-7008

Altorneys: Jennifer L. Routte, C, Christopher Alley

 

County of Residence of First Listed Defendant

DEFENDANTS
CITY OF COLUMBUS, et al

FRANKLIN

(IN U.S. PLAINTIFF CASES ONLY)

Allomeys (if Known}

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASES OF JURISDICTION (Pace an “x” in One Box Only}

 

II. CITIZENSHIP OF PRINCIPAL PARTIES {Place an “X” in One Box for Plaintiff
(For Diversity Cases Only)

and One Box for Defendant}

 

01° US. Govemment a 3 Federal Question PTF DEF PIF DEF
Plaintiff (US. Government Not a Party) Citizen of This State 1 2 ¢t Incorporated or Principal Place o4 tha
of Business In This State

O2 US. Government O4 Diversity Cilizen of Another State 0 2 © 2 Incorporated and Principal Place go5 o3

Defendant (indjeate Citizenship of Parties in Nem Iti) of Business In Another State
Cilizen or Subject ofa O03 OO 3. Foreign Nation o6 oO6

Foreign Country
NATURE OF SUIT {Place an "i One Box Only)

 

O 110 Insurance

OD 120 Marine

0 130 Miller Act

O M0 Negotiable Instrument

O 150 Recovery of Overpayment
& Enforcement of Judgment

G 151 Medicare Aci

O 152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

O 153 Recovery of Overpayment
of Veleran’s Benefits

O 160 Stockholders* Suits

0 190 Other Contract

GC 195 Contract Product Liabitity

0 196 Franchise

 

O 210 Land Condemnation
CO 220 Foreclosure

© 230 Rent Lease & Ejectment
© 240 Torts to Land

© 245 Tort Product Liability
1 290 All Other Real Property

 

 

PERSONAL INJURY

0 310 Airplane

01 315 Airplane Product
Liability

320 Assault, Libel &
Slander

O 330 Federal Employers’
Liability

OG 340 Marine

O 345 Marine Product
Liability

O 350 Motor Vehicle

O 335 Motor Vehicle
Product Liability

O} 360 Other Personal
Injury

OC) 362 Personal Injury -
Medical Malp

 
 
  

OF 440 Other Civil Rights

O 441 Voting

O 442 Employment

O 443 Housing!
Accommodations

0 445 Amer, w/Disabilities -
Employment

0 446 Amer. w/Disabilities -
Other

O 448 Education

  

PERSONAL INJURY

CO 625 Drug Related Seizure
7 365 Personal Injury - of Property 21 USC 881
Product Liability O 690 Other
O 367 Health Care’
Pharmaceutical
Personal Injury

Product Liability
1 368 Asbestos Personal

    

Injury Product
Liability
PERSONAL PROPERTY |[Sa¢Reneee ATOR:
O 370 Other Fraud 0 710 Fair Labor Standards

O 371 Truth in Lending Ac

7 380 Other Personal 0 720 Labor/Management
Property Damage Relations

(7 385 Property Damage «J 740 Railway Labor Act
Product Liability O 756 Family and Medical

Leave Act

| PPRISONER- PETITIONS) 0 790 Other Labor Litigation

Habeas Corpus: CG 791 Employee Retiremen
0) 463 Alien Detainee Income Security Act
O 519 Motions fo Vacale

Sentence

0 5330 General
O 535 Death Penalty be

Other: O 462 Naturali
OG 540 Mandamus & Other [0 465 Other Immigration
O 550 Civil Rights Actions

0 555 Prison Condition
CO 560 Civil Detainee -

 

 

 
 

Applicatio’

O 422 Appeal 28 USC 158
O 423 Withdrawal
28 USC 157

[EEPROPERTWRIGHTS Ee sal

0 820 Copyrights

OF 830 Patent

OF 835 Patent - Abbreviated
New Drug Application

O 840 Trademark

 

1 861 HIA (1395
O 862 Black Lung (923)

(9 863 DIWC/DIWW (405(g))
01 864 SSID Title XVI

1) 865 RST(405(g))

   

ll 0 870 Taxes (U.S, Plamift
or Defendant)

O 871 IRS—Third Party
26 USC 7609

io

 

 

 

 
    

O 376 Qui Tam (31 USC
3729(a))

O 400 State Reapportionment

O 410 Antitrust

© 430 Banks and Banking

0 450 Commerce

0 466 Deportation

O 470 Racketeer Influenced and
Corupt Organizations

2/0 480 Consumer Credit

G 485 Telephone Consumer
Protection Act

O 490 Cable/Sal TY

OF 850 Securities/Commodities!
Exchange

O 890 Other Statutory Actions

O 891 Agricultural Acts

O 893 Environmental Matters

O 895 Freedom of Information
Ack

O 896 Arbitration

O 899 Administrative Procedure
AcUReview or Appeal of
Agency Decision

O 950 Constitutionality of
State Statutes

 

Conditions of
Confinement
¥V, ORIGIN (Plece an “X" in One Box Only}
wt Original O2 Removed from O 3. Remanded from 0 4 Reinslatedor O 5 Transferred from © 6 Mulltidistrict O 8 Mullidistrict
Proceeding Stale Court Appellate Court Reopened Another District Liligation - Litigation -
(specify) Transfer Direct File

 

42 usc 1983

Cite the U.S. Civil Statute under which you are filing (Do sof cite Jurisdictional statutes rnfess diversity):

 

VI. CAUSE OF ACTION

Brief description ofcause:
Constitutional Rights Violations/Excessive Force/Cruel and Unusual Punishment

 

 

 

 

 

 

VIL REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 25,000,000.00 JURY DEMAND: Yes GINo

VIII. RELATED CASE(S)
IF ANY (See fustructions): JupGE MARBLEY DOCKET NUMBER 2:17-CV-104

DATE GNATURE,OF ATRORNEY OF D

037212019 QV MUP Be Lt

FOR OFFICE USE ONLY C/ U/ 7”

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case: 2:19-cv-01049-SDM-KAJ Doc #: 3 Filed: 03/21/19 Page: 2 of 2 PAGEID #: 55

JS 44 Reverse (Rev. 02/19)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

(a)

(b)

(¢)

IL.

It.

Iv,

VIL

VIL.

VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency anc
then the official, giving both name and titte.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noling
in this section "(see attachment)".

Jurisdiction. The basis of jucisdiction is set forth under Rule 8{a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where Jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box I or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties, This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multipte nature of suit codes associated with the case, pick the nature of suit code
that is most applicable, Click here for: Nature of Suit Code Descriptions.

Origin, Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts,

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 US.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinslated or Reopened, (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict titigation transfers.

Maultidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C,
Section 1407.

Muliidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant duc to changes in
statue,

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
Statutes unless diversily. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded,

Related Cases. This section of the JS 44 is used to reference related pending cases, ifany. [fthere are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

 
